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                          UNTIED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL EMPLOYEES,
COUNCIL 25, as an organization and
Representative of its members, CATHERINE
PHILLIPS and CHARLES WILLIAMS,

      Plaintiffs,                             File No. 2:08-cv-14370

v                                             HON. PATRICK J. DUGGAN

TERRI LYNN LAND, MICHIGAN SECRETARY,          MAGISTRATE STEVEN D PEPE
OF STATE, and CHRISTOPHER M. THOMAS,
DIRECTOR OF BUREAU OF ELECTIONS, in
their official capacities,

      Defendants.
__________________________________________/


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    DEFENDANTS' RESPONSE IN OPPOSITION TO “PLAINTIFFS' EX PARTE
    MOTION FOR DECLARATORY JUDGMENT, PRELIMINARY INJUNCTION,
       PERMANENT INJUNCTION AND EXPEDITED CONSIDERATION”
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                     CONCISE STATEMENT OF ISSUES PRESENTED

  I.     Plaintiffs lack standing to sue.

 II.     The Court should decline to exercise jurisdiction over Plaintiffs’ claim for
         declaratory relief.

III.     The elements for granting or denying a motion for preliminary injunction do not
         weigh in favor of granting Plaintiffs' motion.

IV.      Laches doctrine bars Plaintiffs’ claims.

 V.      Ripeness doctrine bars Plaintiffs’ claims.




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                                STATEMENT OF THE FACTS

       On October 15, 2008, Plaintiffs American Federation of State, County and Municipal

Employees, Council 25 (“AFSCME”), Catherine Phillips and Charles Williams filed the instant

complaint against Secretary of State Terri Lynn Land and Director of Elections Christopher

Thomas in their official capacities. Plaintiffs seek immediate and permanent declaratory and

injunctive relief, asserting, primarily, that these defendants are violating the Voting Rights Act,

and State law, MCL 168.744, by instructing local election officials that they have the right to ask

voters entering polling places to remove campaign buttons or cover up clothing bearing a

campaign slogan or a candidate’s name (“the Directive”).

       The Directive appears on page 51 of the 183-page Election Inspector training manual that

Defendants promulgated in February 2008. 1 The manual addresses sixteen topics and Topic 7 is

“Campaigning at the Polls and Exit Pollsters.” (Manual at 51-52.) Topic 7 describes various

electioneering behavior that is forbidden “within 100 feet of any doorway being used by voters

to enter the building in which a polling is taking place.” (Manual at 51.) Plaintiffs challenge two

specific portions of Topic 7:

       Election Inspectors have the right to ask voters entering the polls to remove
       campaign buttons or cover up clothing bearing a campaign slogan or a candidate’s
       name.

                                                ***

       If a person persists in violating any of the above restrictions, contact the clerk or,
       if necessary, local law enforcement authorities.

(Manual at 51). These instructions are the same or consistent with instructions issued on this

topic in years past. (Defs.' Ex. 1, Thomas Aff. at ¶¶5, 6).



1
 As of the filing date of this motion, the full training manual is accessible at the following link
http://www.michigan.gov/documents/sos/5revised_manual_9-10_209104_7.pdf

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       Plaintiffs also assert violations of the First, Fifth, Fourteenth and Fifteenth Amendments

to the United States Constitution, (Compl. at ¶¶ 1-2), but it is unclear if the challenge is facial, as

applied or both. Despite the absence of any historical problems with Defendants’ longstanding

enforcement of reasonable time, place and manner restrictions for polling places, Plaintiffs filed

this six-count action and an ex parte motion less than three weeks before the November 4, 2008

general election. 2 The Directive is based on MCL 168.744, which was first effective in 1955 and

amended in 1972 and 1996.

       Plaintiff AFSCME is a labor union, with over 90,000 members in Michigan and brings

this action as an organization and in its representative capacity. (Compl. at ¶¶ 6-7.) Plaintiffs

Charles Williams and Catherine Phillips are registered voters, African American and members of

AFSCME Council 25 who intend to wear campaign buttons and shirts when they vote, regardless

of their knowledge of the Directive. (Compl. at ¶¶ 12-14.) Albert Garrett, President of

AFSCME, Council 25, avers that other members of AFSCME intend on Election Day to appear

at polling places to vote while wearing buttons and shirts supporting various candidates and

issues on the ballot. (Garret Aff. at ¶¶ 1, 5-6, Pls.’ Ex. 4.) He feels the Directive “if carried out”

creates “the possibility” that the enforcement by local election officials will be discriminatory or

inconsistent, resulting in the deprivation of various constitutional rights to AFSCME members,

including their right to vote and their right to free speech. (Garret Aff. at ¶¶ 9-12, Pls.’ Ex. 4.)

Plaintiffs Williams and Phillips filed substantively identical affidavits affirming that “[t]he

purpose of my wearing buttons and shirts that will evidence my support of particular issues

and/or candidates will be to urge others to participate in the voting process.” (Williams Aff. at ¶

3, Pls.’ Ex. 5; Phillips Aff. at ¶ 4, Pls.’ Ex. 6.) Both assert that the Directive is “intimidating and


2
  Plaintiffs filed amended exhibits to their motion on October 16, 2008. Defendants will refer to
these exhibits when citing to the record.

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threatening, and I feel that it will be used to arbitrarily deny or abridge my right to vote because I

am African American.” (Williams Aff. at ¶ 5, Pls.’ Ex. 5; Phillips Aff. at ¶ 4, Pls.’ Ex. 5.)

       Plaintiffs offer no other evidence supporting their claims that any individual ever was, or

will be, injured by the Directive. Defendants are aware of no previous incidents, police reports

or other problematic enforcement among the millions of Michigan voters who cast ballots in

previous primary and general elections when Election Inspectors operated under the same or

similar instructions with respect to this issue. (Defs.’ Ex. 1, ¶8). There is simply no evidence to

suggest that the Directive has or will be enforced inconsistently, arbitrarily, discriminatorily or

otherwise improperly by local election officials.




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                                           ARGUMENT

                                            Introduction

       The Court should decline to exercise jurisdiction over this case because Plaintiffs lack

standing. The Court in its discretion should also decline jurisdiction because of a strong

likelihood of friction between federal and state law and the fact that granting relief in this

declaratory action would not serve a useful purpose or bring an end to the controversy. Further,

Defendants’ instruction that Election Inspectors have the right to ask voters entering the polls to

remove campaign buttons or cover up clothing bearing a campaign slogan or a candidate’s name

runs afoul of no federal or State law, constitutional or otherwise. Indeed, it is consistent with the

language of MCL 168.744. Further, it is a reasonable time, place and manner restriction that

balances, in a narrowly tailored manner, the right to political speech and the State’s compelling

interest in ensuring the efficacy and integrity of the voting process and the prevention of election

fraud and voter intimidation. Assuming jurisdiction exists, Plaintiffs’ claims fail on the merits

because the factors for granting or denying a preliminary injunction weigh in favor of

Defendants. Further, the applicable law, evidence and arguments Plaintiffs present do not

support the request of summary judgment under FRCivP 56(c) and the issuance of a declaratory

judgment and permanent injunction. Finally, the doctrine of laches bars consideration of the

complaint and any alleged controversy is not yet ripe.


   I. Plaintiffs lack standing both as an organization and as individuals.

       Plaintiffs assert that they have both individual and associational standing to bring these

claims. (Pls.’ Br. at 10-11). The applicable laws compel the opposite conclusion.




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       A.      Plaintiffs Williams and Phillips Lack Individual Standing

       To satisfy the standing requirements of Article III, a plaintiff must show that "(1) it has

suffered an 'injury in fact' that is (a) concrete and particularized and (b) actual or imminent, not

conjectural or hypothetical; (2) the injury is fairly traceable to the challenged action of the

defendant; and it is likely as opposed to merely speculative, that the injury will be redressed by a

favorable decision. 3

       Plaintiffs’ complaint and motion fall far short of the standing requirements. Plaintiffs

raise the specter of disenfranchisement and denial of free speech. Their pleadings are replete

with qualifiers that can only be read to admit the speculative, hypothetical and conjectural nature

of their injuries. “Plaintiffs and other Michigan residents may suffer irreparable injury by having

their right to vote abridged and/or denied.” (Pls.’ Br. at 10) (emphasis added). “[T]he possibility

exist [sic] that such broad authority will be used in a [sic] arbitrary, discriminatory and/or

inconsistent manner . . . ." (Pls.’ Br. at 18) (emphasis added). AFSCME President Garrett raises

the same “possibility,” refers to the Directive “if carried out” and reports that his union’s

“members feel that the directive given to the Election Inspectors by the Defendants intimidates,

threatens or coerces our members . . . .” (Garrett Aff. at ¶¶ 9-11, Pls.’ Ex. 4 (emphasis added).)

Similarly, Williams and Philips “feel that [the Directive] will be used to arbitrarily deny or

abridge my right to vote because I am an African American.” (Williams Aff. at ¶ 5, Pls.’ Ex. 5;

Phillips Aff. at ¶ 4, Pls.’ Ex. 5.) Mere expression of subjective feelings cannot suffice under the

applicable principles of standing even in the First Amendment context. 4 There are no facts


3
  Cleveland Branch, NAACP v City of Parma, 263 F3d 513, 523-524 (CA 6 2001) (quoting
Friends of the Earth, Inc v Laidlaw Envtl Defenders of Wildlife, 528 US 167, 180-81; 120 S Ct
693; 145 L Ed 2d 610 (2000)) (quoting Lujan v Defenders of Wildlife, 504 US 555, 560-61; 112
S Ct 2130; 119 L Ed 2d 351 (1992)).
4
  See Cleveland Branch, 263 F3d at 523-24; Grendell v Ohio Supreme Court, 252 F3d 828, 834-
835 (CA6, 2001)

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 before the Court that, if true, would tend to show that such feelings are well-founded and that the

 claimed injuries are real and imminent, as opposed to hypothetical and speculative.

        Plaintiffs’ parade of horribles lacks all manner of factual predicate. The denial of the

 right to vote is not a fact in evidence, but merely Plaintiffs’ unsubstantiated assertion. Another

 unfounded assumption is Plaintiff’s insistence that enforcement of the Directive will be or might

 be arbitrary and discriminatory. There is no evidence that enforcement of the Directive can be so

 described or expected or, relatedly, that such enforcement ever prevented an individual from

 casting a vote. The facts of each discrete case would necessarily drive any decision by a local

 Election Inspector. Factors to consider include the level of disturbance caused by the violation,

 the flagrancy of the violation, the presence of other voters and the length of the queue, the degree

 to which those voters' rights are being impeded and the impact upon how orderly and

 efficaciously the polling place is able to operate as a whole. Defendants submit that contacting

 law enforcement is a clear last resort, and Plaintiffs have offered nothing to show otherwise apart

 from their own personal fears. There is thus no causal connection between the alleged wrong

 and the assumed deprivation.

        Redress is also problematic. Any injunctive relief would be both redundant and

 nugatory, as it would instruct Defendants to (1) refrain from doing what they have not done

 (disenfranchise voters) and (2) continue to do what they have done (refrain from

 disenfranchising voters). Because the Directive has injured no one, enjoining its enforcement

 would serve no end.

        As a practical matter, the Court should be mindful of the narrow reach of the Directive.

 These considerations apply equally to the merits argument below, but they also can inform the

 Court’s analysis of standing. The Directive is limited in time to the thirteen hours of the handful

 of days a year when the people of Michigan go to vote. For individual voters, the time is further

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 constrained to the short period of time between when they enter, vote and then exit the polls.

 Similarly, the Directive is confined in space to the immediate vicinity of and within polling

 places. Finally, there is no automatic or express sanction that requires election officials to

 precipitously deny anyone the right to vote. Further, Plaintiffs Williams’ and Phillips’ stated

 purpose for wearing the campaign materials inside the polling place, “to urge others to

 participate in the voting process,” is not stifled because those people inside the polling place are

 already participating. There is no injury in fact.

        Compliance with the Directive is temporary and easy, as campaign buttons, hats and

 other small accessories can be removed and placed out of sight with little difficulty. If

 November weather is, consistent with previous experience, chilly as expected, then covering

 campaign clothing is as simple as closing a winter overcoat. For this purpose, election officials

 might loan out extra coats or coverings on a temporary basis, much like a restaurant or a

 religious attraction that adheres to a strict dress code. In the absence of such garments, election

 officials can direct the voter to a nearby bathroom or other private area where such clothing

 could be turned inside out. Voters wearing multiple layers of clothes can simply remove the

 prohibited article. If these options are impracticable and time allows, then in the rare case a

 voter might be instructed to return home to change clothes. This inconvenience is justified, as

 explained below, for the reasons that underlie the State’s compelling interest in ensuring the

 integrity of the voting process, providing a safe voting environment free from electioneering and

 campaigning and preventing election fraud and voter intimidation. The limited practical effect of

 the Directive undercuts Plaintiffs' contention that any injury in fact is present in this case.

        Plaintiffs have no basis to assume that extreme coercion would be the rule. Indeed, the

 very terms of the Directive mention calling the local clerk before contacting law enforcement

 and only after a person persists in violating any restrictions. Plaintiffs’ theory of injury skips the

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 first several reasonable steps that voters and election officials alike can take together to make the

 Directive work as intended. Plaintiffs’ attempt to cast the Directive in the most extreme light

 betrays their reliance on conjecture, speculation and hypothesizing to satisfy the injury in fact

 requirement. The narrow reach of the Directive ensures that Plaintiffs’ tenuous assertion of

 standing is unpersuasive and should be rejected.

         Plaintiffs’ assertion of an overbreadth challenge here does not avoid this statutory

 requirement either. While the First Amendment overbreadth doctrine is a recognized exception

 to the consideration of prudential standing, 5 the First Amendment overbreadth doctrine does not

 excuse Plaintiffs from establishing the requisite constitutional standing required by Article III. 6

 Plaintiffs fail in all respects to establish the requisite injury in fact and causal relation to the

 Directive and, thus, lack standing to bring any asserted claims.

         C.      Plaintiff AFSCME Lacks Organizational Standing

                 1.      AFSCME lacks standing in its own right.

         To bring suit on behalf of its members, an organization must show "'its members would

 otherwise have standing to sue in their own right, the interests at stake are germane to the

 organization's purpose, and neither the claim asserted nor the relief requested requires the

 participation of individual members in the lawsuit.'" 7 An organization has standing when its

 members have sustained a "direct and sufficient" injury, the organization is devoted to

 representing its members' interests, and the members are not needed individually for just




 5
   Brandywine, Inc v City of Richmond, 359 F3d 830, 835 (CA6, 2004); Leonardson v City of East
 Lansing, 896 F2d 190, 195 (CA6, 1990)(quoting NAACP v Button, 371 US 415, 433 (1963)).
 6
   Broaderick v Oklahoma, 413 US 601, 612; 93 SCt 2908; 37 LED2d 830 (1973).
 7
   Cleveland Branch, 263 F3d at 524 (quoting Friends of the Earth, 528 US at 181); see also
 Northeast Ohio Coalition for the Homeless v Blackwell, 467 F3d 999, 1010 (CA 6 2006).

                                                     8
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 adjudication. 8 The test's third prong is prudential and discretionary, and therefore not required,

 but may be of importance and should be considered where appropriate. 9

         With respect to standing as an organization, AFSCME has not demonstrated that the

 procedures of which it complains have or will lead to a concrete and particularized injury to it as

 an organization. AFSCME stands in the same position as the homeless advocacy group and

 labor union that lacked organizational standing to challenge voter identification laws for absentee

 ballots in the Northeast Ohio Coalition case. 10 That labor union there also engaged in "voter

 registration and other election activities on behalf of its members."11 The Sixth Circuit held that

 "[t]he scanty information about the plaintiff organizations in the complaint also raises substantial

 questions about whether the interests at stake here are germane to the organizations' purposes,

 which clearly are not primarily related to election or voters' rights issues." 12

         In this case, Plaintiffs assert that the Directive will somehow frustrate AFSCME’s

 mission as a union. (Pls.’ Br. at 11.) But the analysis of Northeast Ohio Coalition disputes that

 assertion. Further, “a mere interest in a problem is not . . . sufficient to confer standing on an

 organization.” 13 There is a failure to show an adequate impact upon AFSCME’s interests as a

 whole. The purely hypothetical, conjectural and speculative injuries that are alleged do not

 satisfy the injury-in-fact requirement.




 8
   Hunt, 432 US at 343-344.
 9
   United Food & Commer Workers Union Local 751, Petitioner v Brown Group, 517 US 544,
 555; 116 S Ct 1529; 134 L Ed (1996).
 10
    Northeast Ohio Coalition, 467 F3d at 1010.
 11
    Northeast Ohio Coalition, 467 F3d at 1010.
 12
    Northeast Ohio Coalition, 467 F3d at 1010.
 13
    Greater Cincinnati Coalition for the Homeless v Cincinnati, 56 F3d 710, 716 (CA 6 1995
 (citing Sierra Club v Morton, 405 US 727, 739 (1972)).

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                2.      AFSCME lacks standing in a representative capacity

         An organization suing as representative must include at least one member with standing

 to present, in his or her own right, the claim (or the type of claim) pleaded by the association. 14

 AFSCME has not done so in this case, as Williams and Phillips fail to bring forth any

 particularized harm in their individual capacities. AFSCME also fails to demonstrate that any of

 their members would have standing to sue in this case because they have not sufficiently

 demonstrated that any member is likely to suffer a concrete and particularized injury. AFSCME

 has not demonstrated that there is any real imminent threat that one of its members has been or

 will have their right to vote denied. Furthermore, AFSCME cannot establish the causation and

 redressability requirements for the reasons previously stated with respect to Williams and

 Phillips. Accordingly, AFSCME has failed to demonstrate standing to proceed on behalf of their

 members as well.

      II. This Court should decline to exercise jurisdiction over Plaintiffs’ request for
      declaratory judgment

         The Declaratory Judgment Act provides that in a case of actual controversy, a competent

 court may "declare the rights and other legal relations" of a party "whether or not further relief is

 or could be sought." 15 It is well-settled, that the granting of a declaratory judgment rests in the

 sound discretion of the court and the court may refuse to hear such a claim. 16 There are two

 principal criteria used in determining whether a declaratory ruling is appropriate: 1) whether the

 judgment will serve a useful purpose in clarifying and settling the legal relations in issue, and 2)




 14
    United Food, 517 US at 555.
 15
    28 USC § 2201; Public Service Comm'n of Utah v Wycoff, 344 US 237, 241; 73 S Ct 236; 97 L
 Ed 291 (1952).
 16
    Grand Trunk Western RR Co v Consolidated Rail Corp, 746 F2d 323, 326 (CA 6 1984) (citing
 C. Wright, A. Miller & M. Kane, Federal Practice and Procedure § 2759 at 645 (1983).

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 when it will terminate and afford relief from the uncertainty, insecurity, and controversy giving

 rise to the proceeding. 17

          The Sixth Circuit considers the following factors in determining whether it is appropriate

 for a district court to issue a declaratory ruling: (1) whether the declaratory action would settle

 the controversy; (2) whether the declaratory action would serve a useful purpose in clarifying the

 legal relations in issue; (3) whether the declaratory remedy is being used merely for the purpose

 of "procedural fencing" or "to provide an arena for a race for res judicata;" (4) whether the use

 of a declaratory action would increase friction between our federal and state courts and

 improperly encroach upon state jurisdiction; and, (5) whether there is an alternative remedy

 which is better or more effective. 18

          Applying these factors to the instant case, this Court should use its discretion to deny

 declaratory relief. Unnecessary federal intervention into State and local election practices would

 create unjustifiable friction between federal and State courts. “States may, and inevitably must,

 enact reasonable regulations of parties, elections, and ballots to reduce election – and campaign –

 related disorder.” 19 While Plaintiffs appear to raise various federal issues in this case, the key

 issue is a dispute over Defendants’ interpretation of state law not the state law itself. The

 Directive is a guideline crafted to implement the State’s longstanding statutory ban on

 campaigning and electioneering within 100 feet of any entrance to the building where polling is

 taking place 20 :


 17
    Grand Trunk, 746 F2d at 326 (CA 6, 1984) (citing E. Borchard, DECLARATORY
 JUDGMENTS 299 (2d Ed 1941).
 18
    Grand Trunk, 746 F2d at 326 (citing 6A Moore's Federal Practice para. 57.08[2] at 57-37
 (1983)).
 19
    Timmons v Twin Cities Area New Party, 520 US 351, 358 (1997).
 20
      MCL 168.744 (emphasis added).


                                                   11
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         (1) An election inspector or any other person in the polling room or in a
         compartment connected to the polling room or within 100 feet from any entrance
         to the building in which the polling place is located shall not persuade or endeavor
         to persuade a person to vote for or against any particular candidate or party ticket,
         or for or against any ballot question that is being voted on at the election. A
         person shall not place or distribute stickers, other than stickers provided by the
         election officials pursuant to law, in the polling room or in a compartment
         connected to the polling room or within 100 feet from any entrance to the building
         in which the polling place is located.
                                                  ***
         (3) On election day, a person shall not post, display, or distribute in a polling
         place, in any hallway used by voters to enter or exit a polling place, or within 100
         feet of an entrance to a building in which a polling place is located any material
         that directly or indirectly makes reference to an election, a candidate, or a ballot
         question. This subsection does not apply to official material that is required by
         law to be posted, displayed, or distributed in a polling place on election day.


 The core issue in this case, therefore, is one of statutory construction by a state administrative

 agency charged with the relevant regulatory responsibility.

         Specifically, the question is whether the Directive is consistent with the prohibited

 activity described in MCL 168.744. Count I of the Complaint alleges that Defendants have

 violated this State statute and “misinterpreted the prohibited acts as delineated in MCL 168.744

 to prohibit the wearing of ‘campaign buttons, or clothing bearing a campaign slogan or a

 candidate’s name.’” (Compl. at ¶ 41 (quoting the Directive)). Plaintiffs contend that the statute

 “does not prohibit the mere wearing of campaign buttons or clothing bearing a campaign slogan

 or a candidate’s name,” contrary to the plain terms of the statute, as discussed below. (Compl. at

 ¶ 44). For purposes of declaratory judgment, however, this Court need not intervene to decide

 this State law dispute. The matter is more properly left to State courts to decide as a matter of

 State law if Plaintiffs’ claim under the statute is viable. In this context, a federal district court in

 its discretion should not enter the fray because there is a high likelihood that such intervention

 would cause friction between the federal and State systems.


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         Declaratory judgment would not serve a useful purpose in clarifying and settling the legal

 relations at issue because it is the province of Michigan courts to construe Michigan statutes with

 finality. Any federal interpretation of MCL 168.744 would leave room for a different and

 perhaps more narrow construction in State court. Consequently, declaratory judgment would not

 terminate and afford relief from the uncertainty, insecurity, and controversy giving rise to this

 proceeding. The Complaint inescapably seeks a determination of the meaning and reach of MCL

 168.744. Plaintiffs rely solely on Defendants’ alleged interpretation of the statute, which, they

 concede in their motion, is not binding upon Michigan’s courts. (Pls.’ Br. at 14). 21 Plaintiffs fail

 to cite any Michigan case interpreting the statute at issue. This Court is thus left to guess how a

 court in Michigan would interpret the statute and what difference, if any, there would be with the

 agency interpretation Plaintiffs challenge here. There is thus an unavoidable gap between the

 federal issues that Plaintiffs seek to litigate and the foundational matter of Michigan’s

 construction of its own statute. Under these circumstances, a federal court should make no

 declaration on a State law that has not yet been properly challenged in State court or of the state

 agency's interpretation of that law which is facially valid and neutral and where, as here,

 application will be fact and incident specific.

         III.   The factors for granting or denying a preliminary injunction do not weigh in
         favor of granting Plaintiffs' Motion

         A.          Standards for issuing a preliminary injunction.

         When determining whether to issue a preliminary injunction, this Court must consider

 four factors 22 :


 21
    SBC Mich v PSC (In re Complaint of Rovas), 482 Mich. 90, 754 NW2d 259, 267 (2008)
 (holding that “the agency’s interpretation is not binding on the courts, and it cannot conflict with
 the Legislature’s intent as expressed in the language of the statute at issue.”)
 22
    Washington v Reno, 35 F3d 1093, 1099 (CA 6 1994) (citing Keweenaw Bay Indian
 Community v Michigan, 11 F3d 1341, 1348 (CA 6 1993)).

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         (1) the likelihood that the party seeking the preliminary injunction will succeed on
         the merits of the claim; (2) whether the party seeking the injunction will suffer
         irreparable harm without the grant of the extraordinary relief; (3) the probability
         that granting the injunction will cause substantial harm to others; and (4) whether
         the public interest is advanced by the issuance of the injunction.

 "A district court is required to make specific findings concerning each of the four factors, unless

 fewer factors are dispositive of the issue." 23 The decision of whether to issue a preliminary

 injunction lies within the discretion of the district court. 24 "[T]he less certain the district court is

 of the likelihood of success on the merits" of the claims, the greater the burden on the plaintiff to

 "convince [it] that the public interest and the balance of hardships tips in [plaintiffs'] favor." 25

         B.      There is no likelihood that Plaintiffs will succeed on the merits of their claims.

         For the reasons stated above, Plaintiffs have no likelihood of success on the merits

 because they should not reach the merits in the first place. Defendants adopt and incorporate by

 reference their arguments concerning standing and declaratory judgment jurisdiction. The

 doctrines of laches and ripeness, which are argued below, also allow Plaintiffs no likelihood of

 success on the merits.

         1.      The Directive does not violate State law

         Plaintiffs argue that the Directive violates MCL 168.744 because simple display of

 campaign material is not an overt act of campaigning contemplated by the statute. But this

 argument amplifies one part of the statute while ignoring another part of the text. Subsection 1

 states that any "person" within the polling area "shall not persuade or endeavor to persuade a

 person to vote for or against any particular candidate or party ticket, or for or against any ballot




 23
    Six Clinics Holding Corp, II v Cafcomp Sys, Inc, 119 F3d 393, 399 (CA6 1997) (citing In re
 Dolorean Motor Co, 755 F2d 1223, 1228 (CA6 1985)).
 24
    CSX Transp, Inc v Tennessee State Bd of Equalization, 964 F2d 548, 552 (CA6 1992).
 25
    Southwest Voter Registration Educ Project v Shelley, 344 F3d 914, 917 (CA9 2003).

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 question that is being voted on at the election." 26 The plain meaning of this prohibition

 encompasses displays of campaign material. One purpose for wearing campaign material is to

 persuade someone else to vote for that candidate or position. Persuasion – or at least the attempt

 thereof – is the necessary effect of displaying campaign material because such display inherently

 communicates a personal endorsement of that candidate or issue. There may not be direct

 advocacy, but this form of "passive campaigning" certainly conveys the message of support for

 the candidate or position and a desire to persuade other to support that point of view. The

 Directive is thus a reasonable and consistent implementation of Subsection 1.

          Further, Plaintiffs' argument ignores the plain language of Subsection (3) of the statute,

 which carries the following prohibition 27 :

                 On election day, a person shall not post, display, or distribute in a polling place,
                 in any hallway used by voters to enter or exit a polling place, or within 100 feet of
                 an entrance to a building in which a polling place is located any material that
                 directly or indirectly makes reference to an election, a candidate, or a ballot
                 question.

 The Directive falls within the plain terms of Subsection 3, which prohibits the simple display of

 campaign material in the polling place or within the 100-foot zone surrounding it. Wearing

 campaign material in a visible way is displaying it, and violates this subsection. The Directive

 does not require or compel the election official to remove an individual openly displaying

 campaign material or to deny them the opportunity to vote. (Def's Ex 1, ¶¶5, 7) Indeed, election

 officials are trained to use the least intrusive means to obtain compliance. Plaintiffs thus have no

 likelihood of success on the merits of their argument that the Directive, which is a

 straightforward implementation of MCL 168.744, somehow violates the very statute it is

 designed to serve.


 26
      MCL 168.744(1).
 27
      MCL 168.744(3) (emphasis added).

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            2.     The Directive does not violate the Voting Rights Act

            There is no merit in Plaintiff’s argument that the Directive violates the Voting Rights

 Act. Plaintiffs rely on 42 USC §§ 1971 and 1973, which state, respectively 28 :

            No person, whether acting under color of law or otherwise, shall intimidate,
            threaten, coerce, or attempt to intimidate, threaten, or coerce any other person for
            the purpose of interfering with the right of such other person to vote or to vote as
            he may choose . . . .
 And 29 :
            (a) No voting qualification or prerequisite to voting or standard, practice, or
            procedure shall be imposed or applied by any State or political subdivision in a
            manner which results in a denial or abridgement of the right of any citizen of the
            United States to vote on account of race or color, or in contravention of the
            guarantees set forth in section 4(f)(2) [42 USCS § 1973b(f)(2)], as provided in
            subsection (b).

            (b) A violation of subsection (a) is established if, based on the totality of
            circumstances, it is shown that the political processes leading to nomination or
            election in the State or political subdivision are not equally open to participation
            by members of a class of citizens protected by subsection (a) in that its members
            have less opportunity than other members of the electorate to participate in the
            political process and to elect representatives of their choice.
 For the reasons already stated, there is no reason to believe Plaintiffs’ assertion that the Directive

 has ever resulted, or will ever result, in interference with any individual’s right to vote. No

 incident has ever been reported to the Secretary of State where an individual has been removed

 from or denied the right to vote due to a violation of this state law. (Defs' Ex 1, ¶8) The

 Directive merely establishes basic ground rules for the manner in which the right to vote is

 exercised at a polling place, a public environment that government officials are nonetheless

 charged with controlling and regulating. The Directive is, as argued below, a narrowly tailored

 viewpoint neutral restriction that serves the compelling interests of safeguarding the integrity of

 the voting process and preventing election fraud and voter intimidation. Consistent with that


 28
      42 USC § 1971.
 29
      42 USC § 1973.

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 purpose, the Directive upholds § 1971 because it designates a limited zone in the polling place

 where individual voters may not threaten, coerce or otherwise interfere with other voters’ right to

 cast a ballot free from distraction, compulsion or other efforts, however slight, at influencing

 their votes. The rights protected in § 1971 are the rights that underlie Defendants’ compelling

 interest in an orderly election process. The governmental interests are thus grounded in the

 interests of individual voters. Defendants must craft a careful balance on Election Day of the

 right to vote and the right to free speech. Plaintiffs’ conclusory invocation of § 1971 has no

 likelihood of succeeding on the merits.

        Plaintiffs’ argument under § 1973 also has no likelihood of success on the merits. As

 argued above, nothing beyond bald assertion and unfounded subjective feelings supports

 Plaintiffs’ claim that the Directive discriminates against anyone on the basis of race. Nothing

 substantiates Plaintiffs’ perceived threat of arbitrary application and unfettered discretion in

 enforcing the plain and racially neutral terms of the Directive. Nothing in the history of this

 Directive or in the training provided by the Defendants supports Plaintiffs’ wholly speculative

 assertions and arguments either. (Def’s Ex 1. ¶¶5,6, 7, 8). Nor is there factual or legal basis for

 Plaintiffs’ arguments concerning racial discrimination. With respect to race, the Directive is

 neutral in its content and reach. Plaintiffs’ conclusory and speculative allegations in affidavits

 are not adequate to demonstrate the likelihood of proving impermissible racial discrimination or

 meet the test for summary judgment on this issue. 30 Again, the directive merely establishes basic

 conditions for all voters to exercise their rights on an equal footing. Plaintiffs’ argument ignores

 the manifest neutrality and equality of the terms, intent and effect of the Directive. At most,

 30
   Blackburn v Fisk University, 443 F2d 121, 124 (CA6 1971); Cotz v Mastroeni, et al, 476 F
 Supp 2d 332, 363-71 (SD NY 2007); Celotex Corp v Catrett, 477 US 317, 322; 106 S Ct 2548,
 91 L Ed 2d 265 (1986); Matsushita Electric Industrial Co v Zenith Radio Corp, 475 US 574,
 587, 106 S Ct 1348, 89 L Ed 2d 538 (1986); Thaddeus-X v Blatter, 175 F3d 378, 399-400 (CA6
 1999).

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 Plaintiffs’ argument suggests a potential for disparate application of the law by individual

 election inspectors. This does not support any facial invalidity with respect to the Directive,

 however. Nor does it support issuance of a preliminary or permanent injunction where material

 issues of fact are unresolved or disputed. Plaintiffs thus have no likelihood of success on the

 merits with respect to any violation of § 1973.

         2.      The Directive does not violate the Constitution

         These is no constitutional violation here. Plaintiffs invoke the First, Fifth, Fourteenth and

 Fifteenth Amendments in their Complaint, (Pls.’ Compl. at ¶¶ 1-2), and the first of these three in

 their brief. (Pls.’ Br. at 21-22). But the body of their argument only addresses First Amendment

 law. (Pls.’ Br. at 22-28.) Accordingly, Defendants will only respond to the First Amendment

 arguments, which do not have a likelihood of success on the merits.

                 a.      The Directive survives deferential review of neutral election regulations

         "Common sense, as well as constitutional law, compels the conclusion that government

 must play an active role in structuring elections . . . ." 31 "[A]s a practical matter, there must be

 substantial regulation of elections if they are to be fair and honest and if some sort of order,

 rather than chaos, is to accompany the democratic process." 32 "To achieve these objectives,

 States have enacted comprehensive and sometimes complex election codes." 33 As a result,

 election laws impose some burden on voters. '"[W]hether it governs the registration and

 qualifications of voters, the selection and eligibility of candidates, or the voting process itself,

 [election laws] inevitably affects – at least to some degree – the individual's right to vote and his

 right to associate with others for political ends."' 34


 31
    Burdick v Takushi, 504 US 428, 434; 112 S Ct 2059; 119 L Ed 2d 245 (1992).
 32
    Storer v Brown, 415 US 724, 730; 94 S Ct 1274; 39 L Ed 2d 714 (1974).
 33
    Anderson v Celebrezze, 460 US 780, 789; 103 S Ct 1564; 75 L Ed 2d 547 (1983).
 34
    Burdick, 504 US at 433, (quoting Anderson, 460 US at 788).

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         "Consequently, to subject every voting regulation to strict scrutiny and to require that the

 regulation be narrowly tailored to advance a compelling state interest . . . would tie the hands of

 States seeking to assure that elections are operated equitably and efficiently." 35 Rather, a court

 considering a challenge to a state election law must weigh "the character and magnitude of the

 asserted injury to the rights protected by the First and Fourteenth Amendments . . . against the

 precise interests put forward by the State as justifications for the burden imposed by its rule."36

 Under this test, "severe" burdens on constitutional rights must be "narrowly drawn to advance a

 state interest of compelling importance." 37 "But when a state election law provision imposes

 only 'reasonable, nondiscriminatory restrictions' upon the First and Fourteenth Amendment rights

 of voters, 'the State's important regulatory interests are generally sufficient to justify' the

 restrictions." 38 No bright line separates permissible election-related regulation from

 unconstitutional infringements. 39 The United States Supreme Court has also repeatedly

 recognized that each inquiry is fact and circumstance specific.

         Accordingly, the Court should conclude in this case that the longstanding restrictions of

 the Directive are reasonable time, place and manner policies that simply set the ground rules for

 campaigners and voters alike at polling places. An election is a huge governmental undertaking

 that requires rules and procedures for orderly and reliable outcomes. In this context, the

 Directive is narrowly tailored to achieve this compelling interest. For the reasons already stated

 with respect to the Voting Rights Act, the Directive is a reasonable, non-discriminatory and


 35
    Burdick, 504 US at 434.
 36
    Burdick, 504 US at 434 (internal marks omitted).
 37
    Burdick, 504 US at 434 (quoting Norman v Reed, 502 US 279, 289; 112 S Ct 698; 116 L Ed 2d
 711 (1992)).
 38
    Burdick, 504 US at 434 (quoting Anderson, 460 US at 788).
 39
    Timmons, 520 US at 359; see also Storer 417 US at 730 (noting that there is "no litmus-paper
 test for separating those [election] restrictions that are valid from those that are invidious under
 the Equal Protection Clause").

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 neutral regulation that serves the interests of maintaining an orderly election and protecting

 voters in the sanctioning of the polling place. (Defs’ Ex 1, ¶¶5, 6, 7). Further, the burden on

 voters is not severe. As argued above, the Directive's reach is limited in time, place and scope

 and it imposes minimal compliance costs with no threat of automatic disenfranchisement (Defs’

 Ex 1, ¶¶5-7). Therefore, the Court should uphold the Directive as reasonable.

                  b.     The Directive survives heightened review and is therefore not
                         constitutionally overbroad because it is narrowly tailored to serve the
                         compelling interests of ensuring the integrity of the voting process and
                         preventing election fraud and voter intimidation.

         The overbreadth doctrine prohibits the government from proscribing a “substantial”

 amount of constitutionally protected speech judged in relation to the law’s plainly legitimate

 sweep. 40 A finding that is law is overbroad invalidates all enforcement of that law, until and

 unless a limiting construction or partial invalidation so narrows it as to remove the seeming

 threat or deterrence to constitutionally protected expression. 41 Because the overbreadth doctrine

 creates substantial social costs, the Supreme Court has instructed that a law’s application to

 protect speech be substantial relative to the scope of the law’s plainly legitimate applications

 “before applying the strong medicine of overbreadth invalidation.” 42 As such, the overbreadth

 doctrine is only to be used as a last resort. 43 Plaintiffs have failed to address these significant

 issues in their overbreadth challenge. The case law they rely on compels the conclusion the

 Directive has a constitutionally legitimate sweep that does not implicate a substantial amount of

 protected speech. The Directive, thus, withstands the “strong medicine of overbreadth

 invalidation.”


 40
    Virginia v Hicks, 539 US 113, 118-119; 123 SCt 2191; 156 Led 2d 148 (2003).
 41
    Virginia v Hicks, 539 US at 119-120.
 42
    Virginia v Hicks, 539 US at 119-120.
 43
    Broadrick v Oklahoma, 413 US at 613; Sensations, Inc v City of Grand Rapids, 526 F3d 291,
 300 (CA6, 2008).

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         Plaintiffs identify Burson v Freeman 44 and Anderson v Spear 45 as the key authority

 governing this dispute, but they apply the holdings of each case incorrectly. In Burson, the

 United States Supreme Court upheld the constitutionality of a Tennessee statute establishing a

 100-foot zone around polling places where the solicitation of votes and the display or distribution

 of campaign materials were forbidden. 46 The Tennessee statute designated “an election-day

 ‘campaign-free zone’” that barred within the 100-foot zone “the display of campaign posters,

 signs or other campaign materials, distribution of campaign materials, and solicitation of votes

 for or against any person or political party or position . . . .’” 47 The Burson Court rejected the

 Plaintiffs’ challenge to the statute under the First and Fourteenth Amendments. 48 The plurality

 identified “three central concerns in our First Amendment jurisprudence” that the statute

 implicated: regulation of political speech, regulation of speech in a public forum, 49 and

 regulation based on the content of the speech. The plurality therefore applied strict scrutiny

 review to the Tennessee statute and held that it qualified as “the rare case in which we have held

 that a law survives strict scrutiny.” 50

         The plurality upheld Tennessee’s statute for reasons that apply with equal force to the

 Directive that is challenged here. Like the statute challenged in Burson, a court would likely

 consider the Directive to be a “facially-based restriction on political speech in a public forum



 44
    Burson v Freeman, 504 US 191; 112 S Ct 1846; 119 L Ed 2d 5 (1992).
 45
    Anderson, et al v Spear, et al, 356 F3d 651 (CA 6 2004).
 46
    Burson, 504 US at 210-11. The Court should note that only eight Justices participated in the
 decision in Burson. Four Justices (Blackmun, Rehnquist, White and Kennedy) joined in the lead
 opinion and Justice Scalia concurred in the judgment on different grounds.
 47
    Burson, 504 US at 193 (quoting Tenn Code Ann § 2-7-111(b)) (emphasis added).
 48
    Burson, 504 US at 193, 210-11; 504 US at 214-216 (Scalia, J., concurring).
 49
    Justice Scalia reasoned that a polling place is not a traditional public forum and that
 Tennessee’s statute should be upheld as reasonable and viewpoint neutral. 504 US at 214-216
 (Scalia, J., concurring).
 50
    Burson, 504 US at 198, 211.

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 [that] must be subjected to exacting scrutiny.” 51 Strict scrutiny requires the State to show that

 the “regulation is necessary to serve a compelling state interest and that it is narrowly drawn to

 achieve that end.” 52

         Tennessee advanced two compelling interests that are served by campaign-free zones:

 “protecting the rights of its citizens to vote freely for the candidates of their choice . . . . [and]

 protect[ing] the right to vote in an election conducted with integrity and reliability.” 53 The

 plurality agreed, stating that "[t]he interests advanced by Tennessee obviously are compelling

 ones.” 54 The plurality reviewed case law holding that the right to vote freely is “the essence of a

 democratic society” and that a State has a compelling interest in protecting voters from confusion

 and undue influence, preserving the integrity and reliability of its election process and ensuring

 that an individual’s right to vote is not undermined by fraud in the election process. 55 Under

 Burson, it cannot be disputed that Defendants have a compelling interest in ensuring the integrity

 of the voting process and preventing voter intimidation and election fraud.

         The plurality in Burson detailed the history of the evils of voter intimidation and election

 fraud, 56 concluding that the collected experience and attendant wisdom of local election officials

 in America “settled on the same solution: a secret ballot secured in part by a restricted zone




 51
    Burson, 504 US at 198.
 52
    Burson, 504 US at 198 (quoting Perry Ed Assn v Perry Local Educators’ Assn, 460 US 37, 45;
 103 S Ct 948; 74 L Ed 2d 794 (1983)).
 53
    Burson, 504 US at 198-99.
 54
    Burson, 504 US at 199.
 55
    Burson, 504 US at 199 (citing Reynolds v Sims, 377 US 533, 555; 12 L Ed 2d 506; 84 S Ct
 1362) (1964); Eu v San Francisco Cty Democratic Central Comm, 489 US 214, 228-29; 103 L
 Ed 2d 271; 109 S Ct 1013 (1989); Anderson v Celebrezze, 460 US 780, 788, n9; 75 L Ed 2d 547;
 103 S Ct 1564 (1983) (collecting cases)).
 56
    Burson, 504 US at 200-06) (summarizing history from the colonial experience, Australia,
 England, Michigan, Wisconsin, Kentucky, Massachusetts, New York and Tennessee and noting
 that “[t]oday, all 50 States limit access to the areas in or around polling places”).

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 around the voting compartments.” 57 “We find that this widespread and time-tested consensus

 demonstrates that some restricted zone is necessary in order to serve the States’ compelling

 interests in preventing voter intimidation and election fraud.” 58 Importantly, the plurality

 reasoned that the restricted zones are not overinclusive because a statute forbidding only the

 most blatant and specific attempts to impede elections would not serve the compelling interests

 at stake because “many acts of interference would go undetected [and t]hese undetected or less

 than blatant acts may nonetheless drive the voter away before remedial action can be taken.” 59

        This analysis is key here because Plaintiffs argue that the statute is overbroad and it

 sweeps up in its prohibition the political symbolic speech of even the most, it is asserted,

 unobtrusive and non-disruptive voter who simply wears a campaign button. The weight of the

 compelling interests at play and the rationale of Burson justify the Directive’s restriction against

 all campaign material within the narrowly confined 100-foot zone surrounding polling places.

 The Court should also note that the Tennessee statute upheld in Burson, like the Directive at

 issue here, forbade within the same zone “the display of campaign posters, signs or other

 campaign materials . . . ." 60 Because the breadth of the Directive and the Tennessee statute are

 the same, the Directive is not susceptible to Plaintiffs' argument that it is unconstitutionally

 overbroad.

        With respect to narrow tailoring, the plurality in Burson concluded that a 100-foot zone is

 permissible. “We do not think that the minor geographic limitation prescribed by § 2-7-111(b)

 constitutes such a significant impingement.” 61 The plurality reasoned that a conceivably tighter

 zone raises no question of constitutional dimension. Citing the dissenting opinion in the

 57
    Burson, 504 US at 206.
 58
    Burson, 504 US at 206.
 59
    Burson, 504 US at 206-07.
 60
    Burson, 504 US at 193 (quoting Tenn Code Ann § 2-7-111(b)) (emphasis added).
 61
    Burson, 504 US at 210.

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 Tennessee Supreme Court, which noted that it takes about 15 seconds to walk 75 feet, the

 plurality opined 62 :

           The State of Tennessee has decided that these last fifteen seconds before its
           citizens enter the polling place should be their own, as free from interference as
           possible. We do not find that this is an unconstitutional choice.

                                                   ***

           Accordingly, it is sufficient to say that in establishing a 100-foot boundary,
           Tennessee is on the constitutional side of the line.

           In conclusion, we reaffirm that it is the rare case in which we have held that a law
           survives strict scrutiny. This, however, is such a rare case. Here, the State, as
           recognized administrator of elections, has asserted that the exercise of free speech
           rights conflicts with another fundamental right, the right to cast a ballot in an
           election free from the taint of intimidation and fraud. A long history, a substantial
           consensus, and simple common sense show that some restricted zone around
           polling places is necessary to protect that fundamental right. Given the conflict
           between these two rights, we hold that requiring solicitors to stand 100 feet from
           the entrances to polling places does not constitute an unconstitutional
           compromise.

 Similarly, Defendants in this case did not make an unconstitutional choice when they

 decided that a voter's environment and the last moments before voting should "be their

 own, as free from interference as possible." 63

           There is no reasoned basis for distinguishing the Tennessee statute from Michigan's law

 and Defendants’ interpretation and guidance. The Tennessee statute and MCL 168.744 establish

 the same 100-foot campaign-free zone and they are both viewpoint neutral restrictions on all

 campaign materials within that zone. Both obviously also apply within a polling place itself.

 The holding of Burson hinged in no way upon whether the restrictions applied to campaigners or

 to voters. The policy that was upheld in Burson as adequately narrowly tailored was a blanket

 removal of all such speech, for otherwise the campaign-free zone would be a misnomer. The


 62
      Burson, 504 US at 210-11 (citation omitted).
 63
      Burson, 504 US at 210.

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 Court need look no further than Burson to conclude that Plaintiffs have no likelihood of success

 on the merits of their constitutional argument.

        Any attempt by Plaintiffs to distinguish Burson as applying to campaigners and not to

 voters must fail. The Tennessee statute banned the display of campaign materials in the buffer

 zone regardless of who caused the display. The holding turned in no way upon how active or

 passive, entreating or non-entreating, overt and non overt the display was. The intent to persuade

 was not a factor in the decision. Rather, it turned on the display of campaign materials in close

 proximity to the polling place.

        It is worth repeating additional practical considerations that make the Directive narrowly

 tailored and therefore not constitutionally impermissible. The Directive is limited in time to the

 thirteen hours of the handful of days a year when the people of Michigan go to vote. For

 individual voters, the time is further constrained to the short period of time between when they

 enter, vote and then exit the polls. The Directive is confined in space to the immediate vicinity

 of voting. Finally, there is no automatic sanction that requires election officials to precipitously

 deny anyone the right to vote.

        Compliance with the Directive is temporary and easy, as campaign buttons, hats and

 other small accessories can be removed and placed out of sight with little difficulty. If

 November weather is, consistent with previous experience, chilly as expected, then covering

 campaign clothing is as simple as closing a winter overcoat. For this purpose, election officials

 might loan out extra coats or coverings on a temporary basis, much like a restaurant or a

 religious attraction that adheres to a strict dress code. In the absence of such garments, election

 officials can direct the voter to a nearby bathroom or other private area where such clothing

 could be turned inside out. Voters wearing multiple layers of clothes can simply remove the

 prohibited article. If these options are impracticable and time allows, then in the rare case a

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 voter might be instructed to return home to change clothes. This inconvenience is justified, as

 explained above, for the reasons that underlie the State’s compelling interest in ensuring the

 integrity of the voting process, providing a safe voting environment free from electioneering and

 campaigning and preventing election fraud and voter intimidation. The limited practical effect of

 the Directive undercuts Plaintiffs' contention that any injury in fact is present in this case.

           Plaintiffs have no basis to assume that extreme coercion would be the rule and not the

 exceedingly rare exception. Indeed, the very terms of the Directive mention calling the local

 clerk before contacting law enforcement and only after a person persists in violating any

 restrictions. Plaintiffs’ theory of injury skips the first several reasonable steps that voters and

 election officials alike can take together to make the Directive work as intended. Plaintiffs’

 attempt to cast the Directive in the most extreme light betrays the lack of any cognizable

 constitutional argument for invalidating the Directive. The narrow reach of the Directive ensures

 that Plaintiffs have no likelihood of success on the merits of their constitutional challenge.

           In Anderson, the Sixth Circuit applied Burson when it invalidated a 500-foot campaign-

 free zone restriction in Kentucky. Importantly, the Sixth Circuit viewed the exacting review of

 Burson as something less than strict scrutiny but instead a “modified burden of proof” under

 which “the state must demonstrate that its response is ‘reasonable and does not significantly

 impinge on constitutionally protected rights.” 64 The Sixth Circuit held that Burson referred to

 narrow tailoring but that “it later applies the loosened requirement which gives deference to a

 state regulation so long as it is reasonable and does not significantly impinge on constitutionally




 64
      Anderson, 356 F3d at 656 (quoting Burson, 504 US at 209, 209 n11) (emphasis in original)).


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 protected rights.” 65 Applying this modified standard of review, the Sixth Circuit found that “the

 500-foot buffer zone [was] facially overbroad.” 66

        Anderson reasoned that the “extreme geographic distance” involved would cover an area

 25 times larger than the area allowed in Burson, creating 18 square acres of political silence

 around a voting booth and preventing campaigners from coming within the length of 1 and 2/3

 football fields of the polling place.67 The Sixth Circuit held that the evidence “suggests that the

 buffer zone was intended to cut off all electioneering speech.” 68 Finally, the Sixth Circuit

 applied a narrowing construction to the statute’s use of “electioneering,” holding that “it may

 permissibly apply only to speech which expressly advocates the election or defeat of a clearly

 identified candidate or ballot measure.” 69

        Anderson also offers Plaintiffs’ constitutional argument no more likelihood of success.

 First, the holding of Anderson is limited by the simple fact that it decided a case that sought to

 expand the 100-foot rule of Burson to a new limit of 500 feet. Because MCL 168.744 adheres to

 the authoritatively upheld 100-foot buffer zone, the effect of Anderson on this case is nil.

 Second, even if Anderson has precedential value here, its reach would work to the benefit of

 Defendants’ position because Anderson read Burson as applying a “loosened” exacting standard

 of review. Logically, it must therefore be the case that a 100-foot buffer zone that survived strict

 scrutiny would also pass muster under the modified burden of proof. Finally, the limiting

 construction of electioneering that the Sixth Circuit crafted in Anderson is not needed for the

 Directive, which confines its restriction to campaign buttons, accessories and clothing “bearing a

 campaign slogan or a candidate’s name.” These restrictions overlap with the Sixth Circuit’s

 65
    Anderson, 356 F3d at 657.
 66
    Anderson, 356 F3d at 657.
 67
    Anderson, 356 F3d at 661-62.
 68
    Anderson, 356 F3d at 661.
 69
    Anderson, 356 F3d at 665.

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 articulation of a narrowing construction applying “to speech which expressly advocates the

 election or defeat of a clearly identified candidate or ballot measure.” 70 To the extent that

 Burson and Anderson are inconsistent, the rule of Burson must control because it was decided by

 the United States Supreme Court.

                 c.      Burson also permits regulation of symbolic speech

          Plaintiffs' argument concerning symbolic speech is similarly without merit. Plaintiffs

 plan to wear "paraphernalia expressing certain views symbolic of an act within the Free Speech

 Clause of the First Amendment." (Pls.' Br. at 28). But under Tinker 71 it is the speech and not the

 views that must be symbolic. In the case of campaign shirts and accessories, express written

 slogans often accompany whatever symbols are displayed. Further, Plaintiffs assert they are

 engaged in symbolic expression yet deny that the message resembles active campaigning. For

 reasons already stated above, displaying campaign material on Election Day in a polling place,

 where bystanders are a captive audience approaching their solemn moment of decision, cannot

 be logically divorced from the intent and effect of expressly endorsing particular candidates or

 ballot proposals.

          Moreover, the nature of the speech, be it express or symbolic, made no material

 difference in Burson. A prohibited display can be express, implied, symbolic, loud, quiet,

 dignified, undignified, etc. Burson drew a clear line where Defendants are permitted to regulate

 Plaintiffs' speech, and it matters not whether that speech is considered symbolic.

          For all these reasons, Plaintiffs have no likelihood of success on the merits of their

 constitutional challenge. Burson authoritatively upheld time, place and manner restrictions

 identical in substance to the Directive and Anderson does not alter the legal landscape.


 70
      Anderson, 356 F3d at 665.
 71
      Tinker v Des Moines Indep Cmty Sch Dist, 393 US 503; 89 S Ct 733; 21 L Ed 2d 731 (1969).

                                                   28
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        C.      Plaintiffs have not shown that they or their members will suffer irreparable harm.

        In addition to failing in their burden of demonstrating a substantial likelihood of success

 on the merits of their claims, Plaintiffs fail to show that they or their members will suffer

 irreparable harm absent the issuance of an injunction.

        For the reasons articulated above, Defendants submit that Plaintiffs must come forward

 with more than speculative assertions that individuals will be disenfranchised or that the

 Directive will be implemented in an arbitrary or discriminatory manner. MCL 168.744 has been

 the law for decades, and the Directive is no different from the instructions issued in previous

 years. They are consistent with federal and State law. They are designed to enable the right to

 vote, not to take it away from anyone improperly or on a discriminatory basis. Regulations like

 the Directive exist to prevent irreparable harm to voters in Michigan’s polling places. The voters

 depend upon Defendants and other governmental officials to ensure for them that the compelling

 interests explained above are served and that their right to vote in a proper manner and an

 appropriate environment are respected. Plaintiffs have not demonstrated any irreparable harm

 that would weigh in favor of granting a preliminary injunction.

        D.      The balance of hardships weighs against granting an injunction, and the public
                interest will not be advanced by the granting of an injunction in this case.

        Defendants will suffer significant harm if a preliminary injunction is granted. An

 injunction will negatively affect Defendants duty and ability to ensure a fair and orderly election,

 and that fact, in and of itself, negates any advancement in the public interest by the granting an

 injunction. The late timing of Plaintiffs’ request is relevant, as the hearing on their request for

 injunctive relief is scheduled for a mere eight days before the general election. It would be

 unduly burdensome for Defendants to disrupt their operations at this late stage in the event that

 the Court grants injunctive relief that would change the status quo.



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          Finally, the public interest is consonant with the compelling State interests implicated

 here. The ground rules for conducting an orderly and reliable general election must not be

 altered in haste or upon as weak a showing as Plaintiffs present here. The essence of democratic

 self-government depends upon the effective exercise of voters’ rights to freely choose their

 representatives. 72 Established law has determined that in limited circumstances such as these

 political speech must give way to the equally important and fundamental right of voters to freely

 vote and the State to set the conditions for voting. Outside of the 100-foot zone, free speech

 reigns, as it should. Public confidence in the proper balance of rights depends upon the well-

 founded belief that the rules of the system are reasoned, justified and not cavalierly discarded. A

 grant of a preliminary injunction in this case would rock the foundation of that important belief.

          IV.    The doctrine of laches bars Plaintiffs’ claims.

          The defense of laches “requires proof of (1) lack of diligence by the party against whom

 the defense is asserted, and (2) prejudice to the party asserting the defense.” 73 The doctrine “is

 based upon [the] maxim that equity aids the vigilant and not those who slumber on their rights.

 It is defined as neglect to assert a right or claim which, taken together with lapse of time and

 other circumstances causing prejudice to the adverse party, operates as bar in court of equity.” 74

 In an election case, the Sixth Circuit has held that "[a]s time passes, the state's interest in

 proceeding with the election increases in importance as resources are committed and irrevocable

 decisions are made, and the [plaintiff's claim] becomes less credible by his having slept on his

 rights." 75



 72
    Reynolds, 377 US at 555.
 73
    Kansas v. Colorado, 514 U.S. 673, 687; 115 S Ct 1733; 131 L Ed 2d 759 (1995) (quoting
 Costello v United States, 365 US 265, 282, 5 L Ed 2d 551, 81 S Ct 534 (1961)).
 74
    Black’s Law Dictionary at 875 (6th Ed 1990).
 75
    Kay v Austin, 621 F2d 809, 813 (CA6 1980).

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         In this case, there is no reasonable explanation for why Plaintiffs waited until the virtual

 eve of Election Day before they filed this suit. The training manual that they now challenge was

 released in February, at least eight months before Plaintiffs filed suit. Its contents are not

 materially different from the instructions promulgated in previous years. (Defs.' Ex. 1, ¶6).

 Plaintiffs are silent about when they learned of the Directive and how soon that happened before

 filing in federal court. They apparently sought no legal relief before, during or after the

 Directive was in effect for the 2008 primary election and elections in years past. By filing less

 than three weeks before the general election, Plaintiffs manufactured an urgency that should not

 devolve to their benefit in seeking a preliminary injunction. Because time is short, Defendants

 are limited in their ability to marshal a reasoned and proper defense, all in the context of a

 truncated procedural context for a motion seeking preliminary and permanent injunctive relief at

 a hearing that is a mere eight days before the election. Further, had Plaintiffs acted earlier,

 Defendants would have had additional opportunity to better educate the public about the time,

 place and manner restrictions that are now being challenged. Defendants will be prejudiced if

 the Court allows Plaintiffs to capitalize upon the late timing of this lawsuit. The Court should

 also consider the pitfalls of deciding this case in haste. 76

         V.      Plaintiffs’ claim is not yet ripe.

         The doctrine of ripeness precludes federal courts from adjudicating cases that depend

 upon “contingent future events that may not occur as anticipated, or indeed may not occur at




 76
    See e.g. Purcell v Gonzalez, 127 S Ct 5, 7 (2006) (holding that court orders resulting in higher
 risk of voter confusion and apathy increases as an election draws closer); Williams v Rhodes, 393
 US 23, 34-35 (1968) (affirming denial of request for injunction requiring last-minute changes to
 ballots given risks of disrupting election process); Reynolds v Sims, 377 US 533, 585 (1964)
 (holding that “court can reasonably endeavor to avoid a disruption of the election process which
 might result from requiting precipitate changes”).

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 all.” 77 Ripeness is “a question of timing” whose “basic rationale is to prevent the courts, through

 premature adjudication, from entangling themselves in abstract disagreements.” 78 The Court

 should evaluate the fitness of the issues for judicial decision and the hardship to parties of

 withholding court consideration.” 79

        In this case, Plaintiffs’ problems with standing apply with equal force to the ripeness

 doctrine. They claim injuries that have not happened and, if they happen at all, will not happen

 until Election Day. Before that point in time, the nature and contours of Plaintiffs’ claims, if

 any, cannot be known. The complaint assumes future events that may not occur in the way that

 Plaintiffs envision, if at all. In particular, the manner of enforcement of the Directive is not

 known and can take the various forms that were described above, all well short of forcibly

 disenfranchising a voter after calling local law enforcement to respond to a public disturbance.

 At this point, the controversy is abstract and lacking specific content.

        With respect to hardship, the best approach is to leave the status quo undisturbed.

 Because, for the reasons explained above, there is no basis for Plaintiffs’ subjective fear of

 disenfranchisement, there can be no hardship imposed on Plaintiffs if the court refrains from

 adjudicating the case. The only effect is psychic uncertainty about imagined threats to rights that

 in reality are safe. Adjudicating the matter, however, will place Defendants in the untenable

 position of defending a practice and policy that has claimed no victim. Defendants would be

 forced to divert significant attention and resources away from an orderly Election Day and

 devote them to litigating unproven and speculative theories of injury-in-fact. Under these


 77
    Texas v United States, 523 US 296, 300; 118 S Ct 1257; 140 L Ed 2d 406 (1998) (citations
 omitted)
 78
    Thomas v Union Carbide Agric Prods Co, 473 US 568; 580 105 S Ct 3325; 87 L Ed 2d 409
 (1985) (quoting Regional Rail Reorganization Act Cases, 419 US 102, 138-39 (1974); Abbott
 Laboratories v Gardner, 387 US 136, 148 (1967)).
 79
    Texas, 523 US at 300-01.

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 circumstances, the Court should not delve any further into this case. Dismissal under the

 ripeness doctrine is altogether appropriate.




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                            CONCLUSION AND RELIEF SOUGHT

         Defendants respectfully request that this Court dismiss Plaintiffs’ claims for lack of

 standing, under the doctrines of ripeness and laches and because the Court in its discretion will

 not exercise jurisdiction over this declaratory action. On the merits, Defendants respectfully

 request that this Court deny Plaintiffs' request for a preliminary injunction because Defendants

 have demonstrated that Plaintiffs have no likelihood of success on the merits, Plaintiffs will

 suffer no irreparable harm, but Defendants will suffer harm, and that the public interest will not

 be served by granting the motion.

         Defendants further request the Court deny Plaintiffs’ motion for declaratory judgment

 and permanent injunction because the requested relief is not supported by the facts or applicable

 law. Plaintiffs effectively seek summary judgment on their complaint which is not supported by

 the record or the law. Alternatively, the Court should dismiss this case pursuant to

 FRCivP12(b)(1) and (6) or pursuant to FRCivP56(b) and (c)

                                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

 I hereby certify that on October 24, 2008, I electronically filed the foregoing paper with the
 Clerk of the Court using the ECF system which will send notification of such filing as well as via
 U.S. Mail to all non-ECF participants.

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